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Jeffrey D. Horowitz, Esq. SBN 150012

THE HOROWITZ LAW FIRM
14156 Magnolia Boulevard, Suite 200
Sherman Oaks, CA 91423
818) 907-8000 tiecamiley
818) 784-5406 (facsimile)
-mail: jeff@jdhorowitzlaw.com

Attorney for Defendant, ALLSTATE ENGINEERING

Cral rag Ee Guenther, Esq. SBN 126134
TH, MITCHEL & STRANGE,
BY South parker Street, Suite 6500
Orang e 868
ne Pi 80: $500 (tele phone)
i143 480-8533 te epacle

LLP

-Mail: ceguenther(@boothmitchel.com
Attorney for Defendant WESTERN SURETY COMPANY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, for the) CASE NO. CV13-01438-DDP

use and benefit of AJ ACOSTA
COMPANY, INC., a California
corporation,

Plaintiff,
VS.

[PROPOSED] JURY
INSTRUCTIONS BY ALLSTATE
ENGINEERING AND WESTERN
SURETY COMPANY

ALLSTATE ENGINEERING, a California

corporation, WESTERN SURETY

COMPANY, a South Dakota corporation, } TRIAL

Defendants.

PRE-TRIAL CONF. : 10/21/2019
: 10/29/2019

JUDGE: Hon. Dean D. Pregerson

 

AND RELATED COUNTERCLAIM

 

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[PROPOSED] JURY INSTRUCTIONS
BY ALLSTATE ENGINEERING AND WESTERN SURETY COMPANY

 
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Please take notice that, Defendant and Counterclaimant ALLSTATE
ENGINEERING and Defendant WESTERN SURETY COMPANY is lodging

with this court their [Proposed] Jury Instructions, as follows:

1. Damages.

It is the duty of the Court to instruct you about the measure of damages. By
instructing you on damages, the Court does not mean to suggest for which party your
verdict should be rendered.

If you find for Allstate Engineering on Allstate Engineering’s counterclaim and
affirmative defense of breach of contract, you must determine Allstate Engineering’s
damages. Allstate Engineering has the burden of proving damages by a
preponderance of the evidence. Damages means the amount of money that will
reasonably and fairly compensate Allstate Engineering for any injury you find was
caused by Acosta. You should consider the following:

The cost for Allstate Engineering to complete and correct Acosta’s scope of work
under the subcontract, less the amount of contract funds not disbursed by Allstate
Engineering to Acosta.

It is for you to determine what damages, if any, have been proved. Your award must
be based upon evidence and not upon speculation, guesswork or conjecture.

2. A surety bond is not an insurance policy, but is a contract, under which the surety
agrees to answer for the default of another. Under the payment bond at issue here,
Western Surety Company as surety bonded Allstate Engineering as the principal.

3. The liability of Western Surety Company, a surety on a payment bond, cannot be
greater than the liability of the principal/contractor Allstate Engineering, if any,
under the subcontract.

4. A surety is entitled to all of the defenses available to its bonded contractor. In this
case, the principal, Allstate Engineering, asserts the following defenses which are

equally applicable to Allstate Engineering and the surety Western Surety Company:
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[PROPOSED] JURY INSTRUCTIONS
BY ALLSTATE ENGINEERING AND WESTERN SURETY COMPANY

 

 
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Acosta breached its contract with Allstate Engineering and abandoned its subcontract
obligations to Allstate Engineering.

5. If you determine that the plaintiff Acosta materially breached its subcontract with
Allstate Engineering, you must find that Allstate Engineering and Western Surety
Company are not liable.

6. The liability of a surety cannot exceed the sum of its bond.

7. A subcontractor is one who has contracted with a general or prime contractor for the
performance of all or part of the work or services which the general/prime contractor
has contracted with the project owner to perform. Acosta is the subcontractor which
contracted with Allstate Engineering for all or part of the work or services that
Allstate Engineering was required to perform for the project owner, the United States
Government.

8. A surety’s obligation is derived from that of the bond principal. If you find that
Allstate Engineering is not liable to Acosta, then you must find that Western Surety
Company is also not liable to Acosta.

9. A plaintiff who claims he is injured by the wrongdoing of another must use
reasonable care to promote his own recovery and minimize his damages. This rule is
one of good faith and reasonable conduct. If you find that Acosta did not use
reasonable care to promote his own recovery and minimize his damages by failing to
try to make his damages as small as possible, then you must take off from the
damages which you would otherwise award to Acosta, if any, such sum as you think
fairly measures the amount to which his damage has been increased by reason of his

failure in his duty to minimize his alleged damages.

Dated: October _|f , 2019 THE HOROWITZ LAW FIRM

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By: Jeffrey D. Horowitz, Esq.

Attorney for Defendant and Counterclaimant
ALLSTATE ENGINEERING

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|[PROPOSED| JURY INSTRUCTIONS
BY ALLSTATE ENGINEERING AND WESTERN SURETY COMPANY

 

 

 

 
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Dated: October 18, 2019 BOOTH, MITCHEL & STRANGE, LLP

/S/ Craig E. Guenther

By: Craig E. Guenther, Esq.
Attorney for Defendant
WESTERN SURETY COMPANY

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[PROPOSED] JURY INSTRUCTIONS
BY ALLSTATE ENGINEERING AND WESTERN SURETY COMPANY

 

 

 
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on October 18, 2019, a true and correct
copy of the foregoing [PROPOSED] JURY INSTRUCTIONS BY ALLSTATE
ENGINEERING AND WESTERN SURETY COMPANY was served on all
parties and counsel of record via CM/ECF.

 

Dated: October (} , 2019 ee Cee
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yi J effrey D. Horowitz, Esq.
Attorney for Defendant and Counterclaimant
ALLSTATE ENGINEERING

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[PROPOSED] JURY INSTRUCTIONS
BY ALLSTATE ENGINEERING AND WESTERN SURETY COMPANY

 

 
